              Case 1:17-cv-00764-LY Document 1 Filed 08/14/17 Page 1 of 4



                        IN THE UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION


NASICHE ROSE                                      §
                                                  §
v.                                                §                        CIVIL ACTION 1:17-CV-764
                                                  §
JASON STEPHENSON & BRINK’S                        §                                                 JURY
INCORPORATED                                      §

              DEFENDANT BRINK’S INCORPORATED’S NOTICE OF REMOVAL

        COMES NOW, Brink’s Incorporated, and through this Notice of Removal hereby removes Cause

No. D-1-GN-17-003201 filed in the 98th District Court of Travis County, Texas, and in support thereof states

as follows:

                                                       I.

        This civil action is a matter over which this Court has original jurisdiction by virtue of 28

U.S.C. §1332 and is one which may be removed to this Court by Defendant Brink’s Incorporated

under the provisions of 28 U.S.C. §1441(b), in that it is a civil action among diverse parties who are

citizens of different states, and plaintiff’s claims involve an amount in controversy that exceeds

$75,000, exclusive of costs and interest. No previous application has been made for the relief

requested herein.

                                                      II.

        This negligence action arises out of an auto accident involving vehicles driven by Plaintiff

and Defendant Stephenson that occurred on March 9, 2016 in Travis County, Texas. Plaintiff seeks

personal injury damages through this lawsuit.               Defendants assert contributory negligence by

Plaintiff. Plaintiff and Defendants included a jury demand in their original state court pleadings.

                                                      III.

        This action was originally filed on July 13, 2017 in the 98th District Court of Travis County,

Texas by Plaintiff. Exhibit 5. Both Defendants answered on August 7, 2017. Exhibit 8. As such, all


Defendant Brink’s Incorporated’s Notice of Removal – Page 1
            Case 1:17-cv-00764-LY Document 1 Filed 08/14/17 Page 2 of 4



parties have appeared in this litigation. In accordance with 28 USC §1446(a), 1447(b) and1449, all

state-court pleadings and answers as well as all processes and orders served on or by the removing

Defendant are attached hereto as Exhibits 5 – 8. Aside from issuing citation, the state court has not

taken any action relative to this case. See Exhibit 3.

                                                   IV.

        Defendant Brink’s Incorporated first received Plaintiff’s Original Petition after its registered

agent in Texas, CT Corporation, was served with process on July 17, 2017. See Exhibit 6. As such,

this Notice of Removal is timely filed within 30 days of service on Brink’s. See 28 U.S.C. §1446(b)(1).

                                                    V.

        Plaintiff’s Original Petition states that Plaintiff seeks to recover monetary relief in an amount

in excess of $1,000,000.00. See Exhibit 5 at ¶ 8.03. As such, the amount in controversy exceeds the

jurisdictional amount required for removal based on diversity pursuant to 28 U.S.C. §§ 1332 and

1441.

                                                   VI.

        At and since the time of filing this action, Plaintiff was and is a citizen of, and domiciled in,

the State of Texas. Brink’s Incorporated is incorporated in Delaware and maintains its principal

place of business in Virginia, and therefore was and is a citizen of both Delaware and Virginia both

at the time of the filing of this action and at the time of removal. At and since the time of filing this

action, Jason Stephenson was and is a citizen of, and domiciled in, the State of Utah. Accordingly,

no plaintiff is a citizen of the same state as any defendant. As such, there is complete diversity

between Plaintiff and all Defendants, as is required by 28 U.S.C. §1332.




Defendant Brink’s Incorporated’s Notice of Removal – Page 2
                Case 1:17-cv-00764-LY Document 1 Filed 08/14/17 Page 3 of 4



                                                           VII.

           Pursuant to 28 U.S.C. §1446(b)(2)(a), all defendants to the state court action consent to the

removal of the state court action filed by Plaintiff. 1

                                                           VIII.

           Pursuant to 28 U.S.C. §124, the 98th District Court of Travis County Texas is located within

the Austin Division of the Western District of Texas. Therefore, venue is proper in accordance with

28 U.S.C. §1441(a) because it is the “district and division embracing the place where such action is

pending.”

                                                            IX.

           Pursuant to 28 U.S.C. §1446(a), the following exhibits are attached hereto:

           Exhibit 1 – Civil Cover Sheet;

           Exhibit 2 – Supplemental Civil Cover Sheet;

           Exhibit 3 – State Court’s Online Docket Sheet;

           Exhibit 4 – Index of State Court Filings;

           Exhibit 5 – Plaintiff’s Original Petition;

           Exhibit 6 – Citation to Defendant Brink’s Incorporated;

           Exhibit 7 – Citation to Defendant Jason Stephenson; and

           Exhibit 8 – Defendants’ Original Answer.

Additionally, Defendant’s Certificate of Interested Persons shall be filed separately as required by

Fed. R. Civ. P. 7.1.




1   The undersigned counsel represents all Defendants in the lawsuit.


Defendant Brink’s Incorporated’s Notice of Removal – Page 3
             Case 1:17-cv-00764-LY Document 1 Filed 08/14/17 Page 4 of 4



                                                   X.

         Pursuant to 28 U.S.C. §1446(d), a copy of this Notice of Removal will be promptly filed with

the Clerk of the Court for the 98th District Court of Travis County, Texas, and served on counsel for

Plaintiff.

         WHEREFORE, Defendant Brink’s Incorporated prays that the action now pending

against it in the 98th District Court of Travis County, Texas, bearing Cause No. D-1-GN-17-003201,

be removed to this Honorable Court for a trial by jury on all issues of fact.


                                                Respectfully submitted,



                                                By:       /s/ Jeffrey R. Ross
                                                        Jeffrey R. Ross
                                                        State Bar No. 24041823
                                                        jross@rossbarneslaw.com

                                                        Ross Barnes LLP
                                                        801 E. Campbell Road, Suite 390
                                                        Richardson, TX 75081
                                                        (214) 420-2300
                                                        (214) 420-2299 (facsimile)

                                                        ATTORNEY FOR DEFENDANTS



                                       CERTIFICATE OF SERVICE

      I do hereby certify that on August 14, 2017, a true and correct copy of the above and foregoing
document has been forwarded to Plaintiff’s counsel through the Court’s electronic filing system.


                                                         /s/ Jeffrey R. Ross
                                                        Jeffrey R. Ross




Defendant Brink’s Incorporated’s Notice of Removal – Page 4
